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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Civil Action No. 07-cv-00371-RPM-MEH

CHARLES CALDWELL, and
VICKI CALDWELL,

       Plaintiffs,

v.

FRED WEGENER,
MONTE GORE,
GREGORY S. FLINT,
STEVEN GROOME,
SHAWNA WHITEOWL, and
MARK DAMON,

      Defendants.
______________________________________________________________________________

             ORDER GRANTING JOINT STIPULATED MOTION FOR
                DISMISSAL WITH PREJUDICE OF DEFENDANT
             STEPHEN GROOME PURSUANT TO Fed. R. Civ. P. 41(a)
______________________________________________________________________________

       The parties have filed a Joint Stipulated Motion for Dismissal With Prejudice as to

Defendant Stephen Groome. After careful review of the stipulation and the file, the court has

concluded that the stipulation should be approved and that Plaintiffs’ claims against Defendant

Stephen Groome should be dismissed with prejudice.

       THEREFORE IT IS ORDERED as follows:

                             1.     That the Joint Stipulated Motion for Dismissal With

                     Prejudice is APPROVED; and




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                        2.         That Plaintiffs’ claims against Defendant Stephen Groome

                 are DISMISSED WITH PREJUDICE, each party to pay his own attorneys

                 fees and costs.



                 Dated this 3rd day of July, 2008.

                                          BY THE COURT:

                                          s/Richard P. Matsch
                                          _________________________________
                                          Richard P. Matsch
                                          United States District Judge




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